                   UNITED STATES DISTRICT COURT
                      DISTRICT OF CONNECTICUT


UNITED STATES OF AMERICA           :

V.                                 :    CASE NO. 3:15-cr-00155(RNC)

ROSS SHAPIRO, et al.               :



                                ORDER

     Defendant Michael Gramins has requested to continue trial

in this matter until July 16, 2018 (ECF No. 493).      Both the

Government and defendant Ross Shapiro consent to this request.

The request is granted in part subject to the filing of properly

executed waivers of the defendants’ rights under the Speedy

Trial Act (“the Act”), 18 U.S.C. §§ 3161, et seq., which

specifically waives the period of delay from May 8, 2018, to

June 12, 2018.

     The Act generally requires that the trial of a defendant

commence within seventy days after the filing of the indictment

or the date the defendant first appears in court, whichever is

later.   18 U.S.C. § 3161(c)(1).    A continuance may be granted if

the court finds “that the ends of justice served by taking such

action outweigh the best interest of the public and the

defendant in a speedy trial.”      Id. at § 3161(h)(7)(A).   One

relevant factor is whether failure to grant the continuance

would deny counsel reasonable time necessary for effective
preparation, taking into account the exercise of due diligence.

Id. at § 3161(h)(7)(B)(iv).

    In support of the requested continuance, Mr. Gramins

explains that counsel for the Government and Mr. Gramins were on

trial in other cases throughout the month of April.     I agree

that these scheduling conflicts make a continuance necessary and

appropriate.    Accordingly, I find that the ends of justice

served by a continuance outweigh the interest of the public and

the defendants in a speedy trial, in that failure to grant the

continuance would deny counsel reasonable time necessary for

effective preparation.    However, a continuance until July 16 is

not possible given the Court’s schedule.

    Therefore, the trial schedule will be as follows.

Prospective jurors will come to the court to fill out

questionnaires on June 4, and the parties will receive

electronic copies of the questionnaire answers shortly after the

process is complete.     The final pretrial conference will be on

June 7 at 10:00 a.m.     Counsel should confer about the

questionnaire answers before the conference and be prepared to

discuss jurors to be excused by stipulation and any for-cause

challenges.    In-court jury selection from the remaining pool of

jurors will take place on June 12 at 9:00 a.m.     Evidence will

begin on July 9.   There will be no court on July 20 and July 23.
    The period May 8 through June 12 will be excluded under the

Act subject to the filing of a waiver of the defendants’ rights.

    So ordered this 1st day of May 2018.



                                             /s/
                                         Robert N. Chatigny
                                    United States District Judge
